          Case 2:96-cr-00350-WBS-AC Document 823 Filed 05/20/13 Page 1 of 3


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     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,               )   CASE NO. 2:96-CR-350-09 WBS
                                             )
11                        Plaintiff,         )   STIPULATION AND [PROPOSED]
                                             )   ORDER TO RESET SENTENCING
12   v.                                      )   HEARING
                                             )
13   HUY CHI LUONG,                          )
                                             )
14                        Defendant.         )
                                             )
15                                           )
16
17         The United States of America, through its counsels of record,
18   Benjamin B. Wagner, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States Attorney,
20   and defendant HUY CHI LUONG, through his counsel, John Balazs, Esq.,
21   stipulate and agree to the following revised sentencing hearing
22   currently set for May 20, 2013, at 9:30 a.m. to a new sentencing
23   hearing date of June 3, 2013, at 9:30 a.m.
24         Due to an eye injury to government counsel, additional time is
25   needed to medically treat the eye injury and allow for the blurred
26   vision to clear up in order to effectively research and write the
27   government’s reply to the defendant’s latest filing.           In other words,
28   the government needs additional time to adequately and effectively

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        Case 2:96-cr-00350-WBS-AC Document 823 Filed 05/20/13 Page 2 of 3


 1   respond to the issues raised in the defendant’s reply to the
 2   Government’s sentencing memoranda.
 3        Counsel for the defendant was contacted and has no objection to
 4   this request to change the sentencing hearing date to June 3, 2013.
 5
 6
 7                                          Respectfully submitted,
 8
 9                                          BENJAMIN B. WAGNER
                                            United States Attorney
10
11
     DATED:   May 17, 2013            By:    /s/ William S. Wong
12                                          WILLIAM S. WONG
                                            Assistant U.S. Attorney
13
14   DATED:   May 17, 2013            By:    /s/John Balazs
                                            JOHN BALAZS
15                                          Attorney for Defendant
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                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )   CASE NO. 2:96-CR-350 WBS
11                                           )
                          Plaintiff,         )   ORDER TO RESET
12                                           )   SENTENCING HEARING
     v.                                      )
13                                           )
     HUY CHI LUONG,                          )
14                                           )
                          Defendant.         )
15                                           )
16
           For the reasons set forth above, the sentencing hearing date is
17
     now changed to June 3, 2013, at 9:30 a.m.
18
19    DATED:   May 17, 2013
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